Case 1:22-cv-05686-KAM-VMS Document 36 Filed 05/09/23 Page 1 of 1 PageID #: 241


                                                                     261 Madison Avenue, 26th Floor
                                                                         New York, New York 10016
                                                              (212) 972-7040 (o) • (212) 922-1939 (f)
                                                                                    www.FSFLLP.com


                                                                           ROBERT B. LOWER, COUNSEL
                                                                               RLOWER@FSFLLP.COM



                                           May 8, 2023

 Via ECF

 Hon. Kiyo A. Matsumoto, U.S.D.J.
 United States District Court, E.D.N.Y.
 225 Cadman Plaza East, Courtroom 6C-S
 Brooklyn, New York 11201


        Re:    REQUEST FOR ORAL ARGUMENT
               Case No. 1:22-cv-05686 (KAM)(VMS) — Justin Lanasa et al. v. Erik Stiene et al.

 Dear Judge Matsumoto:
        This office represents Defendants in the above captioned matter. Pursuant to Your Honor’s
 Individual Practices, we write to request oral argument in connection with Defendants’ motion for
 summary judgment dated March 8, 2023 and thank the Court for its time and consideration.


                                              Respectfully submitted,


                                              By: __________________________
                                                         Robert B. Lower

                                              FARBER SCHNEIDER FERRARI LLP


 cc:    Counsel of record; Hon. Vera M. Scanlon, U.S.M.J. (via ECF)
